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                            United States District Court
                               District of Columbia


United States of America,
            Plaintiff,                       Case No. 1:21-cr-00246-ABJ-1
v.
Daniel Rodriguez,
            Defendant.




                         Notice in Response to Minute Order



I.    Response

      Counsel has no objection to the unsealing of the minute order from

January 14, 2022.

 Dated: January 20, 2022.
                                          Respectfully submitted,

                                          RENE L. VALLADARES
                                          Federal Public Defender

                                          /s/Rebecca A. Levy
                                          /s/Margaret W. Lambrose
                                      By: /s/ Katherine Tanaka
                                          REBECCA A. LEVY
                                          MARGARET W. LAMBROSE
                                          KATHERINE TANAKA
                                          Assistant Federal Public Defenders

                                          Attorneys for Daniel Rodriguez
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                        Certificate of Electronic Service

      The undersigned hereby certifies that she is an employee of the Federal

Public Defender for the District of Nevada and is a person of such age and

discretion as to be competent to serve papers.

      That on January 20, 2022, she served an electronic copy of the above and

foregoing Notice in Response to Minute Order by electronic service (ECF) to the

person named below:



             CHANNING D. PHILLIPS
             United States Attorney
             Kimberly L. Paschall
             Risa Berkower
             Tara Ravindra
             Assistant United States Attorneys
             555 4th Street, NW
             Washington, DC 20530

                                              /s/ Cecilia Valencia
                                              Employee of the Federal Public
                                              Defender




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